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                             UNITED STATES DISTRICT COURT
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                           SOUTHERN DISTRICT OF CALIFORNIA
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 7    UNITED STATES OF AMERICA,                  Case No. 20-CR-1349 JLS
 8                       Plaintiff,              ORDER AND JUDGMENT
                                                 DISMISSING INFORMATION
 9          v.                                   WITHOUT PREJUDICE
10    JESSICA ACOSTA,                            The Honorable Janis L. Sammartino
11                       Defendant.
12
13         Based on the motion of the United States to dismiss this case without prejudice, and
14   in light of the interests of justice, it is hereby ordered that the information in the above-
15   entitled action be dismissed without prejudice.
16         IT IS SO ORDERED.
17   Dated: October 19, 2020
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